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9

10                          UNITED STATES DISTRICT COURT
11                FOR THE CENTRAL DISTRICT OF CALIFORNIA

12    JENNY LISETTE FLORES; et al.,           Case No. CV 85-4544-DMG

13            Plaintiffs,
14
                                              PLAINTIFFS’ PARTIALLY UNOPPOSED
                   v.                         EX PARTE APPLICATION RE
15                                            OPPOSITION TO MOTION TO LIFT
16
      WILLIAM P. BARR, Attorney               RESTRICTIONS IN PARAGRAPH 4.E OF
      General of the United States; et al.,   THE JUNE 26, 2020 ORDER, ECF NO.
17                                            833
18            Defendants.
                                              Hearing: November 13, 2020 9:30 AM
19
                                              [HON. DOLLY M. GEE]
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2    Plaintiffs’ counsel continued:

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1          Pursuant to Section 6 of this Court’s Procedures ( “Procedures”), and for
2    good cause shown set forth below, Plaintiffs respectfully request that the Court
3    grant them until November 4, 2020, to submit an opposition to Defendant’s Motion
4    to Terminate Transfer Restriction in Paragraph 4.e of the June 26, 2020 Order,
5    ECF No. 833 (“Motion”) [Doc # 1006]. Defendants filed the Motion on October
6    16, 2020, asking that it be heard November 13, 2020, at 9:30 A.M.
7                 In its Order Re Updated Juvenile Coordinator Reports [Doc # 833]

8
     filed 06/26/20 (“June 26, 2020, Order”), the Court ordered that “None of these
     minors [B.B.B., A.F.P.P., and K.J.A.B ] who age out shall be sent to an adult
9
     detention facility pending resolution of [the] inquiry” regarding ICE’s compliance
10
     with the FSA at the Cowlitz County Juvenile Detention Center (“Cowlitz”) and
11
     Northern Oregon Regional Corrections (“NORCOR”) detention facilities.
12
           Pursuant to the Court’s June 26, 2020, Order, on July 24,2020, the ICE
13
     Juvenile Coordinator filed her Interim Report (“ICE Report”) [Doc. # 882-1]
14
     providing background information on the three class members detained at Cowlitz
15
     and NORCOR.
16
           At this time, only Class Member B.B.B. will age out soon. His 18th birthday
17   is on November 15, 2020. The ICE Report purports to provide accurate
18   background information on B.B.B.. ICE Report at 11-12. B.B.B. has been detained
19   by ICE since October 18, 2018. Id. On December 18, 2018, an immigration judge
20   sustained detention with no bond, finding he is a danger to the community. Id. A
21   juvenile delinquency adjudication in Maryland on January 16, 2018 found B.B.B.
22   guilty of assault and wearing/carrying a weapon with intent to injure, though
23   Plaintiffs are informed and believe the weapon was never used to injure the victim.

24
     Id.
           On October 16, 2020, Defendants filed their Motion seeking to vacate
25
     Paragraph 4e of the Court’s June 26, 2020, Order.
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1          At the October 23, 2020, Status Conference, the Court pointed out to
2    Defendants that paragraph 4e of its June 26, 2020, Order was only intended to
3    prevent the transfer of Class Members B.B.B., A.F.P.P., and K.J.A.B, not all Class
4    Members who may be detained by Defendants in secure facilities, and asked
5    Defendants to reconsider their motion which appears to interpret the Court’s June
6    26, 2020, Order as applying to all Class Members detained in secure facilities.
7    Defendants’ counsel stated that Defendants would consider the Court’s

8
     clarification of the scope of the June 26, 2020, Order.
           The Court’s Order Re October 23, 2020 Status Conference (“October 23,
9
     2020, Order”)[Doc. # 1014], filed October 26,2020, states in relevant part: “The
10
     parties … shall meet and confer regarding the need for Defendants’ Motion to Lift
11
     Restriction in Paragraph 4.e of the June 26, 2020 Order [Doc. # 1006] in light of
12
     the Court’s statements at the status conference. The parties shall provide an update
13
     on these discussions in a Joint Status Report to be filed by November 23, 2020.”
14
     Id.
15
           In the meantime, counsel for Class Member B.B.B. filed a Motion for Bond
16
     Redetermination in Portland Immigration Court on October 2, 2020. See
17   Declaration of Peter Schey filed herewith at ¶ 8.
18         On October 29, 2020, counsel for Class Member B.B.B. received the
19   immigration judge’s decision denying a hearing and any assessment of
20   dangerousness or flight risk. Id. On October 30, 2020, counsel for Class Member
21   B.B.B. informed Plaintiffs’ Class Counsel of the Immigration Judge’s refusal to
22   conduct a further bond hearing for Class Member B.B.B.. Id. at ¶ 9. As stated
23   above, Class Member B.B.B. will turn 18 on November 15, 2020. Id. at 10.

24
           Uncertain as to how Defendants wish to proceed on their Motion, and
     whether the Court wishes to conduct a hearing on defendants’ Motion on
25
     November 13, 2020, as requested by Defendants, Plaintiffs wish to file a brief
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1    opposition to Defendants’ Motion by November 4, 2020 and request that the
2    parties be ordered to promptly meet and confer as follows:
3          . In light of Defendants’ not withdrawing or modifying their pending Motion
4    to Lift Restrictions In Paragraph 4.e of the June 26, 2020 Order, and BBB’s 18th
5    birthday on November 15, 2020, the parties shall meet and confer regarding the
6    need for Defendants’ Motion to Lift Restriction [Doc. # 1006] in light of the
7    Court’s statements at the status conference, and regarding –

8
           • how Defendants may comply with the June 26, 2020 Order if it is not
     vacated, including whether a modification of the Order should be considered;
9
           • the extent to which Defendants have complied or will comply with the
10
     FSA including to assess BBB’s current likelihood to appear at future proceedings
11
     or his dangerousness;
12
           • the extent to which BBB or his mother have been informed of his FSA
13
     rights by Defendants;
14
           • the extent to which BBB’s potential sponsor’s suitability has been assessed
15
     by Defendants;
16
           • whether the suitability of a sponsor has been considered when assessing
17   BBB’s likelihood to appear at future proceedings or dangerousness.
18         To better frame and limit the issues the Court may address, the parties
19   should be required to provide an update on their discussions and positions on these
20   points in a Joint Status Report to be filed by November 10, 2020.
21         Even if the Court does not conduct a hearing on November 13, 2020, and in
22   effect continues to require that the parties meet and confer and “provide an update
23   on these discussions in a Joint Status Report to be filed by November 23, 2020,”

24
     Plaintiffs’ proposed opposition and the parties’ discussion of and reporting on the
     five points identified above, will assist the parties to focus on BBB’s processing
25
     under the FSA and appropriate steps in the event he has not experienced substantial
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1    compliance with the FSA and that is causing his potentially medically dangerous
2    age-out situation.
3          Plaintiff’s counsel requested Defendants’ counsel consent to Plaintiffs’
4    application by email sent on Tuesday, November 3, 2020. See Declaration of Peter
5    Schey at ¶14. Defendants responded today stating “Defendants assent to your
6    request for an extension only to the extent that the Court sets a schedule that would
7    allow the Court to rule on Defendants’ pending motion on or before November

8
     14.” Id. A proposed Order is being filed herewith.

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10
                                     Respectfully submitted,
11

12    Dated: November 4, 2020        /s/ Peter Schey
                                     Peter A. Schey
13
                                     CENTER FOR HUMAN RIGHTS &
14                                   CONSTITUTIONAL LAW
                                     Counsel for Plaintiffs
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2
                               CERTIFICATE OF SERVICE
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4          I hereby certify that on November 4, 2020, I served the foregoing pleading
5
     on all counsel of record by means of the District Clerk’s CM/ECF electronic filing
6
     system.
7

8

9
                                                  /s/ Peter Schey
                                                 Peter A. Schey
10                                               CENTER FOR HUMAN RIGHTS &
                                                 CONSTITUTIONAL LAW
11
                                                 Class Counsel for Plaintiffs
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